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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-cv-21079-BLOOM/Torres


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

        Defendants.
  ___________________________________________/

       NOTICE OF FILING COURT’S JURY INSTRUCTIONS AND VERDICT FORM

         THIS CAUSE is before the Court following the charge conference in this case, held on

  June 27, 2024. See ECF No. [307]. At the charge conference, the Court notified Plaintiff Securities

  and Exchange Commission and Defendant Guy Gentile that it would circulate the Court’s Jury

  Instructions and Verdict Form for the parties’ review. Accordingly, the Court advises the parties

  of the attached Jury Instructions and Verdict Form the Court intends to read and submit to the jury

  in this cause.

          DONE AND ORDERED in Chambers at Miami, Florida on June 28, 2024.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE

  Copies to: Counsel of Record
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                             COURT’S INSTRUCTIONS TO THE JURY

         Members of the jury:

         It’s my duty to instruct you on the rules of law that you must use in deciding this case.

         When I have finished, you will go to the jury room and begin your discussions, sometimes

  called deliberations.

                   The Duty to Follow Instructions – Corporate Party Involved

         Your decision must be based only on the evidence presented here. You must not be

  influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it – even if you do not agree with the law – and you

  must follow all of my instructions as a whole. You must not single out or disregard any of the

  instructions on the law.

         The fact that a corporation is involved as a party must not affect your decision in any way.

  A corporation and all other persons stand equal before the law and must be dealt with as equals in

  a court of justice. When a corporation is involved, of course, it may act only through people as its

  employees; and, in general, a corporation is responsible under the law for the acts and statements

  of its employees that are made within the scope of their duties as employees of the company.

            The Duty to Follow Instructions – Government Entity or Agency Involved

         Your decision must be based only on the evidence presented here. You must not be

  influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it – even if you do not agree with the law – and you

  must follow all of my instructions as a whole. You must not single out or disregard any of the

  instructions on the law.


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         The fact that a governmental entity or agency is involved as a party must not affect your

  decision in any way. A governmental agency and all other persons stand equal before the law and

  must be dealt with as equals in a court of justice.

                      Consideration of Direct and Circumstantial Evidence;
                           Argument of Counsel; Comments by the Court

         As I said before, you must consider only the evidence that I have admitted in the case.

  Evidence includes the testimony of witnesses and the exhibits admitted. But, anything the lawyers

  say is not evidence and isn’t binding on you.

         You shouldn’t assume from anything I’ve said that I have any opinion about any factual

  issue in this case. Except for my instructions to you on the law, you should disregard anything I

  may have said during the trial in arriving at your own decision about the facts.

         Your own recollection and interpretation of the evidence is what matters.

         In considering the evidence you may use reasoning and common sense to make deductions

  and reach conclusions. You shouldn’t be concerned about whether the evidence is direct or

  circumstantial.

         “Direct evidence” is the testimony of a person who asserts that he or she has actual

  knowledge of a fact, such as an eyewitness.

         “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to prove

  or disprove a fact. There’s no legal difference in the weight you may give to either direct or

  circumstantial evidence.

                                       Credibility of Witnesses

         When I say you must consider all the evidence, I don’t mean that you must accept all the

  evidence as true or accurate. You should decide whether you believe what each witness had to say,

  and how important that testimony was. In making that decision you may believe or disbelieve any
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  witness, in whole or in part. The number of witnesses testifying concerning a particular point

  doesn’t necessarily matter.

         To decide whether you believe any witness I suggest that you ask yourself a few questions:

         1. Did the witness impress you as one who was telling the truth?

         2. Did the witness have any particular reason not to tell the truth?

         3. Did the witness have a personal interest in the outcome of the case?

         4. Did the witness seem to have a good memory?

         5. Did the witness have the opportunity and ability to accurately observe the things
             he or she testified about?

         6. Did the witness appear to understand the questions clearly and answer them
             directly?

         7. Did the witness’s testimony differ from other testimony or other evidence?

                  Impeachment of Witnesses Because of Inconsistent Statements

         You should also ask yourself whether there was evidence that a witness testified falsely

  about an important fact. And ask whether there was evidence that at some other time a witness

  said or did something, or didn’t say or do something, that was different from the testimony the

  witness gave during this trial.

         But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the truth as

  he or she remembers it. People naturally tend to forget some things or remember them inaccurately.

  So, if a witness misstated something, you must decide whether it was because of an innocent lapse

  in memory or an intentional deception. The significance of your decision may depend on whether

  the misstatement is about an important fact or about an unimportant detail.

                                            Expert Witness

         When scientific, technical or other specialized knowledge might be helpful, a person who

  has special training or experience in that field is allowed to state an opinion about the matter.
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         But that doesn’t mean you must accept the witness’s opinion. As with any other witness’s

  testimony, you must decide for yourself whether to rely upon the opinion.

                                             Stipulations

         Sometimes the parties have agreed that certain facts are true. This agreement is called a

  stipulation. You must treat these facts as proved for this case. The parties have stipulated to the

  following facts:

         1. SureTrader was a “broker,” “dealer” and/or “broker-dealer” as defined in the Exchange

             Act engaged in interstate commerce;

         2. SureTrader was registered and licensed with the Securities Commission of the Bahamas

             as a broker-dealer, and was therefore a “foreign broker-dealer”;

         3. SureTrader was never registered as a broker-dealer with the SEC;

         4. SureTrader was not an associated person of a registered SEC broker-dealer.

                           Responsibility for Proof – Plaintiff’s Claims
                                   Preponderance of the Evidence

         In this case it is the responsibility of the SEC to prove every essential part of its claims by

  a “preponderance of the evidence.” This is sometimes called the “burden of proof” or the “burden

  of persuasion.”

         A “preponderance of the evidence” simply means an amount of evidence that is enough to

  persuade you that each of the SEC’s claims are more likely true than not true.

         If the proof fails to establish any essential part of a claim or contention by a preponderance

  of the evidence, you should find against the SEC.

         When more than one claim is involved, you should consider each claim separately.




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         In deciding whether any fact has been proved by a preponderance of the evidence, you may

  consider the testimony of all of the witnesses, regardless of who may have called them, and all of

  the exhibits received in evidence, regardless of who may have produced them.

         If the proof fails to establish any essential part of each of the SEC claims by a

  preponderance of the evidence, you should find for the Defendant as to that claim.

                   Responsibility for Proof – Defendant’s Affirmative Defenses
                                 Preponderance of the Evidence

         In this case, Mr. Gentile asserts the affirmative defenses of an exemption to the registration

  requirements and good faith. Even if the SEC proves its claims by a preponderance of the evidence,

  Mr. Gentile can prevail in this case if he proves an affirmative defense by a preponderance of the

  evidence.

         When more than one affirmative defense is involved, you should consider each one

  separately. I caution you that Mr. Gentile does not have to disprove the SEC’s claims, but if Mr.

  Gentile raises an affirmative defense, the only way he can prevail on that specific defense is if he

  proves that defense by a preponderance of the evidence.

                                        The SEC’s Claims

         In this case, the SEC brings three claims or counts. The first count is brought under Section

  15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”) against SureTrader. The second

  count is brought under Section 20(a) of the Exchange Act against Mr. Gentile. The third count is

  brought under Section 20(b) of the Exchange Act against Mr. Gentile.

         I will now give you instructions on counts I, II and III. The relevant time period for this

  case is March 2016 to November 2019.




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                        Count I-Violations of Section 15(a)(1) of the Exchange Act

         The SEC brings its first claim against Defendant SureTrader under Section 15(a)(1) of the

  Exchange Act, which governs registration of brokers and dealers with the SEC.

         In its first claim, the SEC has charged SureTrader with violations of Section 15(a)(1) of

  the Exchange Act. Section 15(a)(1) of the Exchange Act makes it illegal for a “broker” or “dealer”

  to use the mails or any means of interstate commerce to effect any transaction in, or to induce or

  attempt to induce the purchase or sale of any security unless such entity : (1) is registered with the

  SEC; (2) in the case of a natural person, is an associated person of a registered broker-dealer; or

  (3) satisfies the conditions of an exemption or safe harbor. The SEC need only show that a

  defendant functioned as a “broker” or “dealer” as the term is defined in the Exchange Act,

  regardless of the person’s intent, to establish a violation.

         A “broker” is defined in the Exchange Act as a person engaged in the business of effecting

  transactions in securities for the accounts of others. A “dealer” means a person engaged in the

  business of buying and selling securities for such person’s own account through a broker or

  otherwise. Those who buy and sell securities for their own account or as part of a regular business

  must register with the SEC as securities dealers.

         The parties agree, and do not dispute that, at all relevant times:

         1) SureTrader was a “broker,” “dealer” and/or “broker-dealer” as defined in the Exchange

             Act;

         2) SureTrader was registered and licensed with the Securities Commission of the Bahamas

             as a broker-dealer, and was a “foreign broker-dealer”; and

         3) SureTrader was not registered as a broker-dealer with the SEC.




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                                  Gentile’s Affirmative Defense - Exemption

         Mr. Gentile asserts an affirmative defense of an exemption. Rule 15a-6(a)(1) describes

  certain limited exemptions from the Exchange Act’s broker-dealer registration requirement for

  foreign brokers who participate in certain activities with U.S. investors and securities markets.

  Rule 15a-6(a)(1) provides an affirmative defense to the SEC’s claim that SureTrader failed to

  register. Specifically, Rule 15a-6(a)(1) states that “A foreign broker or dealer shall be exempt

  from the registration requirements of sections 15(a)(1) . . . of the [Exchange] Act to the extent that

  the foreign broker or dealer . . . [e]ffects transactions in securities with or for persons that have not

  been solicited by the foreign broker or dealer[.]” A defendant claiming an exemption from

  registration under Rule 15a-6(a)(1) bears the burden of establishing that an exemption applies.

          Mr. Gentile claims that SureTrader was exempt from broker-dealer registration under Rule

  15(a)-6(a)(1) because it has not solicited customers in the United States with or for whom it was

  effecting securities transactions between March 2016 and November 2019. Here, Mr. Gentile must

  establish by a preponderance of the evidence that SureTrader has not solicited customers in the

  United States.

          Solicitation is construed broadly to include both efforts to induce a single transaction and

  efforts to develop an ongoing securities business relationship. In the context of the Exchange Act’s

  broker-dealer registration requirement, solicitation includes any affirmative effort by a broker or

  dealer intended to induce transactional business for the broker-dealer.

          If you find the evidence supports, by a preponderance of the evidence, that Mr. Gentile

  acted in good faith or that Suretrader is exempt from broker-dealer registration under Rule 15(a)-

  6(a)(1), you shall find in favor of Mr. Gentile on the claims asserted against him.




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                            Count II- Section 20(a) of the Exchange Act
                          Controlling Person Liability under Section 20(a)

          I will now instruct you as to the SEC’s second claim.

         The SEC also asserts a claim against Mr. Gentile under Section 20(a) of the Exchange Act.

  Under Section 20(a), an individual may be liable if he was a “controlling person” of a company

  that itself has violated the securities laws.

         To prove that Mr. Gentile is liable as the controlling person under Section 20(a), the SEC

  must prove by a preponderance of the evidence:

         First:          That SureTrader committed a violation of Section 15(a);

         Second:         That Mr. Gentile had the power to control the general business affairs of

                         SureTrader at the time it violated Section 15(a); and

         Third:          That Mr. Gentile had the requisite power to directly or indirectly control or

                         influence the specific corporate policy which resulted in the Section 15(a)

                         violation.

         The SEC bears the burden of showing Mr. Gentile was a control person of SureTrader

  under Section 20(a) from March 2016 to November 2019 for purposes of compliance with Section

  15(a)(1).

          For purposes of this instruction, a person includes a company.

         A defendant is liable as a controlling person under section 20(a) if he had the power to

  control the general affairs of the entity at the time the entity violated the securities laws and had

  the requisite power to directly or indirectly control or influence the specific corporate policy which

  resulted in the violation of the securities law. If you find that the SEC has proven these elements,

  you may nonetheless find Mr. Gentile is not liable under Section 20(a) based on a good faith



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   defense or that Suretrader is exempt from the Exchange Act’s broker-dealer registration

   requirements for foreign brokers.

                           Gentile’s Affirmative Defense to Count II – Good Faith

          Under Section 20(a), Mr. Gentile can establish a good faith defense by proving by a

   preponderance of the evidence that he did not act recklessly and did not induce, either directly or

   indirectly, the act or acts constituting the primary Section 15(a) violation by SureTrader.

          Recklessness is a heightened standard of culpability, and a person acts “recklessly” only

   when he consciously disregards a substantial and unjustifiable risk…in gross deviation from

   accepted standards.

                           Gentile’s Affirmative Defense to Count II - Exemption

          If you find that the SEC has proven these elements, you may nonetheless find Mr. Gentile

   is not liable under Section 20(a) based on his affirmative defense that SureTrader is exempt from

   the Exchange Act’s broker-dealer registration requirements for foreign brokers under Rule 15a-

   6(a)(1). I have already instructed you on the exemption defense and that Mr. Gentile has the burden

   to prove this defense by a preponderance of the evidence.



                             Count III-Section 20(b) of the Exchange Act

          I will now instruct you as to the SEC’s second claim against Gentile (Count III). The SEC

   has claimed that Mr. Gentile violated Section 20(b) of the Exchange Act. Section 20(b) of the

   Exchange Act makes it unlawful for any person, directly or indirectly, to do any act or thing which

   it would be unlawful for such person to do under the provisions of this title or any rule or regulation

   thereunder through or by means of any other person.



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          To prevail on this claim, the SEC must prove each element by a preponderance of the

   evidence that:

              First: Mr. Gentile knowingly, either directly or indirectly, through SureTrader;

              Second:    Engaged in unregistered broker activity in violation of Section 15(a)(1).

          A finding of liability under Section 20(b) does not require a finding of control of

   SureTrader by Mr. Gentile.

          The term “knowingly” means that one acts with an intent to deceive, manipulate, or

   defraud. But someone doesn’t act knowingly if he acts inadvertently, carelessly, or by mistake.

                          Gentile’s Affirmative Defense to Count III - Exemption

          If you find that the SEC has proven these elements, you may nonetheless find Mr. Gentile

   is not liable under Section 20(b) based on his affirmative defense that Suretrader is exempt from

   the Exchange Act’s broker-dealer registration requirements for foreign brokers under Rule 15a-

   6(a)(1). I have already instructed you on the exemption defense and that Mr. Gentile has the burden

   to prove this defense by a preponderance of the evidence.

                        Duty to Deliberate When Damages are not an Issue

          Your verdict must be unanimous – in other words, you must all agree. Your deliberations

   are secret, and you’ll never have to explain your verdict to anyone.

          Each of you must decide the case for yourself, but only after fully considering the evidence

   with the other jurors. So you must discuss the case with one another and try to reach an agreement.

   While you’re discussing the case, don’t hesitate to reexamine your own opinion and change your

   mind if you become convinced that you were wrong. But don’t give up your honest beliefs just

   because others think differently or because you simply want to get the case over with.




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          Remember that, in a very real way, you’re judges – judges of the facts. Your only interest

   is to seek the truth from the evidence in the case.

                                   Court’s Duty to Decide Remedies

          If you determine that the Commission has proved any Defendant liable on any of the

   Counts, then I alone will determine the remedy or remedies to impose at a later date.

                                               Note-Taking

          You’ve been permitted to take notes during the trial. Most of you – perhaps all of you –

   have taken advantage of that opportunity.

          You must use your notes only as a memory aid during deliberations. You must not give

   your notes priority over your independent recollection of the evidence. And you must not allow

   yourself to be unduly influenced by the notes of other jurors.

          I emphasize that notes are not entitled to any greater weight than your memories or

   impressions about the testimony.

                        Election of Foreperson Explanation of Verdict Form

          When you get to the jury room, choose one of your members to act as foreperson. The

   foreperson will direct your deliberations and speak for you in court.

          A verdict form has been prepared for your convenience.

                                             [Explain verdict]

          Take the verdict form with you to the jury room. When you’ve all agreed on the verdict,

   your foreperson must fill in the form, sign it and date it. Then you’ll return it to the courtroom.

          If you wish to communicate with me at any time, please write down your message or

   question and give it to the court security officer. The court security officer will bring it to me and

   I’ll respond as promptly as possible – either in writing or by talking to you in the courtroom. Please

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   understand that I may have to talk to the lawyers and the parties before I respond to your question

   or message, so you should be patient as you await my response. But I caution you not to tell me

   how many jurors have voted one way or the other at that time. That type of information should

   remain in the jury room and not be shared with anyone, including me, in your note or question.




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 1:21-CV-21079-BLOOM/Torres


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   MINTBROKER INTERNATIONAL, LTD.,
   f/k/a SWISS AMERICA SECURITIES LTD.
   and d/b/a SURETRADER, and
   GUY GENTILE, a/k/a GUY GENTILE NIGRO,

         Defendants.
   ___________________________________________/

                                          VERDICT FORM

   We the jury unanimously respond to the following questions as follows:

   Count I:



          1(a). Did the SEC prove by a preponderance of the evidence that SureTrader was
          required to register under Section 15(a)(1) of the Exchange Act?

          YES___________ NO___________

   If you answered YES to (1)(a), please go to Question (1)(b). If your answer is NO, do not
   complete the rest of this Verdict Form, and please have the foreperson sign and date the verdict
   form.

          1(b). Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
          qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s
          requirement to register with the SEC?

          YES___________ NO___________

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   If you answered YES to 1(b), do not complete the rest of this Verdict Form, and please have the
   foreperson sign and date the verdict form.

   If you answered NO to 1(b), please go to Question 2(a).


   Count II:

          2(a). Did the SEC prove by a preponderance of the evidence that Mr. Gentile is liable
          as a control person under Section 20(a) for SureTrader’s failure to register under Section
          15(a)(1) of the Exchange Act ?

          YES___________ NO___________

   If you answered YES to (2)(a), please go to Question (2)(b). If your answer is NO, do not answer
   2(b) and proceed to Question 3(a).


          2(b). Did Mr. Gentile prove by a preponderance of the evidence that he acted in good-
          faith and did not induce Suretrader to fail to register with the SEC??

          YES__________NO__________

   If you answered YES to Question 2(b), Please skip 2(c) and go to Question 3(a). If you answered
   NO, please answer Question 2(c).

          2(c). Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
          qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s
          requirement to register with the SEC?

          YES__________NO__________

   If you answered YES to 2(c), do not complete the rest of this Verdict Form, and please have the
   foreperson sign and date the verdict form. If you answered NO, proceed to Question 3(a).




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   Count III:

           3(a). Did the SEC prove by a preponderance of the evidence that Mr. Gentile directly
   or indirectly induced SureTrader to engage in unregistered broker activity in violation of Section
   15(a)(1)?

          YES___________ NO___________


   If you answered NO to 3(a), do not complete the rest of this Verdict Form, and please have the
   foreperson sign and date the verdict form. If you answered YES, proceed to Question 3(b).


          3(b) Did Mr. Gentile prove by a preponderance of the evidence that SureTrader
          qualified for the Rule 15a-6(a)(1) exemption to Section 15(a)(1) of the Exchange Act’s
          requirement to register with the SEC?


          YES___________ NO___________


   Please have the foreperson sign and date the verdict form.

   SO SAY WE ALL



   Foreperson’s Signature__________________________________



   Date_________________________




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